         Case 8:16-cv-00860-DKC Document 12 Filed 04/11/16 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                         SOUTHERN DIVISION (GREENBELT)


SCOTTSDALE CAPITAL ADVISORS
CORPORATION, JOHN J. HURRY,
TIMOTHY B. DIBLASI, and DARRELL
MICHAEL CRUZ,

                     Plaintiffs,



              v.                                 Civil Action No. 8:16-cv-00860-DKC



FINANCIAL INDUSTRY REGULATORY
AUTHORITY, INC.,

                     Defendant.




                                   [PROPOSED] ORDER

       Upon consideration of the briefs and arguments of the parties, the Court hereby GRANTS

Defendant FINRA’s Motion to Dismiss Complaint Pursuant to Fed. R. Civ. P. 12(b)(1), and

12(b)(6) and DENIES Plaintiffs’ Motion for Preliminary Injunction.

       The Complaint is hereby dismissed with prejudice.



Dated: __________, 2016                           ________________________________
                                                  United States District Judge
